§PROQ§)Z§€ 1:OO-cr-10005-.]DT Document 208 Filed 08/31/05 Page 1 of 3 Page|D 166
(Rev.12/04)

UNITED STATES DISTRICT CoURT eng § L/

for

WESTERN DISTRICT OF TENNESSEE

Petition for Warrant or Summons for Offender Under Supervision

 

Name of Offender: NANCY SHARON MITCHELL Case Number: l:OOCR10005-003

Name of Sentencing Judicial Off`lcer: HONORABLE JAMES D. TODD, CHIEF U.S. DISTRICT COURT JUDGE
Date of Original Sentence: 07/'21/00

Original Offense: CONSPIRACY AND POSSESSION VVITH INTENT TO DISTRIBUTE METHAMPHETAMINE,
A SCHEDULE ll CONTROLLED SUBSTANCE; 21 U.S.C. § 846

 

 

Original Sentence: 57 MONTHS IN CUSTODY, 3 YEARS ON SUPERVISED RELEASE
Type of Supervision: SUPERVISED RELEASE Date Supervision Commenced: 02/02/04
Assistant U.S. Attorney: PAUL M. O’BRIEN Defense Attomey: MARY JO MIDDLEBROOKS

 

PETITIONING THE COURT

To issue a warrant
m To issue a summons

The probation officer believes that the offender has violated the following condition(S) of supervision:
Violation Number Nature of Noncompliance

7 USE OF A CONTROLLED SUBSTANCE
GENERAL POSSESSION OF A CONTROLLED SUBSTANCE

Thls document entered on the docket sheet in compliance

with nunc ss and/or 32(:>) FnorP on Q‘l '§;l -Q j

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U.S. Probation Ofi`lcer Reeornmendation:
The tenn of supervision should be
revoked.

|:l extended for years, for a total term of years.

|:| The conditions of supervision should be modified as follows'.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 08/25/ 05

 

U.S. Probation Offlcer

 

THE COURT ORDERS:
|:i No action.
m The issuance of a warrant

|:| The issuance of a summons

i:] Other

O.EZM¢/

Signature of Judicial Offlcer

wwa way

JDate

DISTRICT COUR - WESRNTE D"'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 208 in
case 1:00-CR-10005 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

Paul M. O'Brien

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DISTRICT COURT

